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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ARBOR GLOBAL STRATEGIES, LLC.,

                        Plaintiff
                                                                 C.A. No. 19-cv-01986-MN
                v.

XILINX, INC.,

                       Defendant.


                XILINX INC.’S REPLY IN SUPPORT OF ITS MOTION FOR
             INTERLOCUTORY CERTIFICATION OF STANDING QUESTION
                          PURSUANT TO 28 U.S.C. § 1292(b)

        The threshold issue of standing in this case is purely a question of law, over which there is

a substantial difference of opinion, and reversal of the Court’s Order would result in termination

of the case. This Court’s decision is thus the perfect candidate for interlocutory review: Rather

than waiting to appeal the same threshold issue years from now, it makes sense to attend to the

jurisdictional cloud right at the start, before the parties and this Court invest substantial resources

to litigate this case. See 28 U.S.C. § 1292(b). AGS’s opposition conjures up phantoms of

“floodgates” with appeals of every motion to dismiss. That is nonsense: every case is evaluated

on the merits, and it is rare for a plaintiff (as here) to assert a patent when it does not clearly possess

the right to sue, because most plaintiffs correct that error. And it is rarer still for the issue (as here)

to turn on questions of law on which there are a substantial difference of opinion. AGS’s

opposition ignores or mischaracterizes the actual circumstances of this case.

I.      ARGUMENT

        A.      Interpretation of the February 2009 Agreement is a Question of Law

        Xilinx seeks to appeal a legal issue – the correct interpretation of the plain language of a

contract. Contrary to AGS’s suggestion, no mixed question of fact is at issue, nor does AGS
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attempt to identify one. There are no disputed facts here. The questions of law at issue are these:

did the February 2009 Agreement, as a matter of law, assign ownership of the Patents or a mere

security interest; and, as a matter of law, did it require that the Assignee execute an assignment in

order for title of the Patents to re-vest in the Assignor? Interpretation of a patent assignment is a

question of Federal Circuit law. See DDB Techs. L.L.C. v. MLB Advanced Media, L.P., 517 F.3d

1284, 1290 (Fed. Cir. 2008) (finding assignment question to be “intimately bound up with the

question of standing in patent cases. We have accordingly treated it as a matter of federal law.”)

And, as courts in this district have concluded, questions regarding correct contract interpretation

are controlling questions of law. See In re Broadstripe, LLC, No. C09-10006 (CSS), 2009 WL

774401, at *2 (D. Del. Mar. 26, 2009) (concluding questions regarding contract were “controlling

questions of law”); see also EMSI Acquisition, Inc. v. RSUI Indem. Co., No. CV 16-1046-LPS,

2018 WL 2316633, at *3 (D. Del. May 22, 2018) (“The proper construction of any contract,

including an insurance contract, is purely a question of law.”) In contrast, AGS cites non-

analogous cases from outside of this district to argue that interpretation of the February 2009

Agreement involves some unidentified factual question. See D.I. 51 at 2-3. No such factual

dispute exists here.

       AGS repeatedly refers to language in the Court’s Order to the effect that Xilinx may raise

standing as an issue again if discovery reveals any additional facts not previously presented to the

Court that “cast doubt on the current record.” D.I. 39 at 2 n.2. AGS’s reliance on this footnote is

misplaced. It is AGS who has the burden, and AGS who would have already brought forward the

relevant information. Samsung Elecs. Co. v. ON Semiconductor Corp., 541 F. Supp. 2d 645, 648

(D. Del. 2008). Indeed, AGS did file evidence, D.I. 16-1 (Exhibits 1-6), and notably did not

include a single assignment document from the Guzy individuals to anyone else. Unlike the case




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AGS cites, here the record on the issue of standing is ready for review. Cf. In re Physiotherapy

Holdings, Inc., Case No. 13-12965-KG, 2017 WL 6524524, at *12 (Bankr. D. Del. Dec. 21, 2017)

(factual issue required “further development.”).      AGS had every incentive to disclose any

additional evidence with its opposition that might shift the facts in its favor, such as a valid

assignment. It has not done so. No further discovery is needed in order to determine what the

February 2009 Agreement means as a matter of law.

       B.      There is Substantial Ground for Difference of Opinion Regarding the
               Interpretation of the February 2009 Assignment Agreement

       Contrary to AGS’s mischaracterization of the parties’ legal arguments, AGS has not

established standing in this matter by the use of “well-settled legal principles.” As Xilinx

explained in its motion for interlocutory certification, D.I. 44, the parties cited conflicting cases

regarding the meaning of certain assignment language – AGS cited cases from outside of the patent

context, while Xilinx cited cases from the Federal Circuit and cases involving patent assignments

specifically. Compare D.I. 15 at 6-9 with D.I. 19 at 1-8. Xilinx respectfully seeks certification for

interlocutory review because there are “[c]onflicting and contradictory opinions” that govern and

“provide substantial grounds for a difference of opinion,” not because it merely disagrees with the

Court’s decision. Cf. In re Essar Steel Minnesota v. Cleveland-Cliffs, Inc., 607 B.R. 409, 416

(Bankr. D. Del. 2019) (“Conflicting and contradictory opinions may provide substantial grounds

for a difference of opinion.”)

       AGS also offers an unsubstantiated view that this difference of opinion is not “substantial,”

and makes the empty observation that every contested motion involves difference of opinion. AGS

cites two non-analogous cases that simply are not relevant to this case’s posture. Cf. Princeton

Digital Image Corp. v. Konami Digital Entm’t Inc., C.A. No. 12-1461,-2017 WL 6290637, at *2

(D. Del. Dec. 11, 2017) (concluding difference of opinion not substantial because movant for



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interlocutory appeal had provided no analogous cases supporting its position); In re Essar Steel

Minnesota, 607 B.R. at 416 (concluding difference of opinion not substantial because contract

interpretation principles followed by the court were “well-established”). Here, both parties

submitted “conflicting and contradictory” cases supporting different interpretations of the same

contractual language, which the court in In re Essar Steel Minnesota noted could provide a

substantial difference of opinion. See 607 B.R. at 416.

       C.      Reversal on Question of Standing Would Terminate the Litigation

       AGS does not dispute that Xilinx has met its burden on this prong. It is plain that a reversal

regarding the interpretation of the February 2009 Agreement would mean that AGS lacks standing.

And, “[i]f the plaintiff[][has] no standing, the litigation will be terminated, and such questions are

particularly well suited for an interlocutory appeal.” Klapper v. Commonwealth Realty Tr., 662 F.

Supp. 235, 236 (D. Del. 1987) (noting that “for the same reason, the third prong of the test . . . is

also met.”) AGS observes that appeal of “every decision denying a motion to dismiss” could

materially advance the ultimate determination of a litigation, but that argument proves too much:

not every such appeal meets the other 28 U.S.C. § 1292(b) threshold factors, and AGS does not

and cannot seriously dispute that review of the Court’s decision now—rather than several years

from now—will save significant costs, time, and effort by the parties and the Court if Xilinx

prevails.

       D.      The Threshold Issue Regarding Standing Is An Exceptional Circumstance
               Meriting Certification

       As Xilinx set forth in its motion, potential resolution of questions regarding standing is an

exceptional circumstance justifying certification. Standing is a threshold issue – there simply is

no case if AGS does not have standing. As Xilinx stated, courts have recognized this and

considered questions of standing to be appropriate for interlocutory appeal. See Klapper, 662 F.



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Supp. at 236. Based on this rationale, allowing such appeals encourages orderly and prompt

ascertainment that the prerequisites exist for an action.

        AGS’s opposition on this point cites wholly irrelevant cases that do not concern

interlocutory appeals on threshold standing issues. D.I. 51 at 5-6 (citing In re Magic Rests., Inc.,

202 B.R. 24, 26 (Bank. D. Del. 1996) (denying motion for interlocutory review of whether

statutory language applied to defendant); In re Intel Corp. Microprocessor Antitrust Litig., MDL

No. 05-1717- JJF, 2008 WL 11231434, at *2 (D. Del. Oct. 6, 2008) (denying motion for

interlocutory review of denial of motion to intervene filed by a repeat filer of frivolous claims who

had no connection to the pending case)).            AGS’s attempt to distinguish Klapper is also

unconvincing. The court’s unequivocal statement in Klapper that questions of standing are

“particularly suited for interlocutory appeal” was made without any regard as to whether the

standing issue was one of first impression. See 662 F. Supp. at 236. Where there are substantial

grounds for a difference of opinion, as here, the case is well positioned for interlocutory review.

28 U.S.C. § 1292(b).

        E.      Xilinx’s Request for a Stay Furthers Resolution of a Threshold Issue and is
                Not Prejudicial

        Xilinx has requested interlocutory review regardless of whether this Court grants a stay. Xilinx

has also argued that a stay makes sense here in order to resolve the threshold, jurisdictional issue before

continuing to expend time and resources in a litigation if the plaintiff does not have standing. AGS

alludes to supposed prejudice it would suffer if a stay were granted, but it does not explain how it is

harmed by a stay to resolve these issues. AGS is a non-practicing entity with no employees. See D.I.

31 at ¶ 5. It does not compete against Xilinx. Nor is AGS seeking an injunction. D.I. 1 at 35. A stay

would have little impact on it or its ability to pursue its claims for damages if the interlocutory appeal

resolves in AGS’s favor.




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II.    CONCLUSION

       For the foregoing reasons, Xilinx respectfully requests that the Court certify the portion of

its Order relating to Xilinx’s standing challenge, D.I. 39, for interlocutory appeal. Separately,

Xilinx also requests a stay of this litigation in favor of that interlocutory appeal.



Dated: September 11, 2020              FISH & RICHARDSON P.C.



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